                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                             )
                                                     )
               v.                                    )              Case No. 1:21CR180-10
                                                     )
                                                     )
CURTIN LYNN STIREWALT, JR,
__________________________________________________________________________

                             MOTION TO CONTINUE

   NOW COMES DEFENDANT, through counsel, and moves the Court to continue this case

from the August calendar. In support hereof, Defendant shows the Court as follows:

1) Defendant is charged with drug conspiracy and related charges by indictment filed May 24th,

2021.

2) The parties have not yet agreed on the terms of a plea agreement. Counsel requires additional

time to discuss Defendant’s options with him before a final determination can be made regarding

this matter will be for trial or plea. As previously noted, counsel had shoulder surgery August

18th which has limited the time available for counsel to meet with Defendant.

3) Counsel does not believe the government would object to a continuance.

   WHEREFORE, Defendant respectfully requests that this matter be continued to the October

calendar.

   This the 1st day of September, 2021.

                                               /s/ J. Clark Fischer
                                              ________________________________
                                              J. Clark Fischer, Attorney for Defendant
                                              936 West Fourth Street, Suite 206
                                              Winston-Salem, NC 27101
                                              336-724-3513
                                              NCSB#9217




            Case 1:21-cr-00180-UA Document 142 Filed 09/01/21 Page 1 of 2
                           CERTIFICATE OF SERVICE


  I certify that a copy of the foregoing MOTION TO CONTINUE was served on the party
named below through ECF:

    Mr. Terry Meinecke
    Assistant United States Attorney
    Greensboro, NC 27402


This the 1st day of September, 2021.

                                        /s/ J. Clark Fischer
                                        _________________________________
                                        J. Clark Fischer, Attorney for Defendant
                                        936 West Fourth Street, Suite 206
                                        Winston-Salem, NC 27101
                                        336-724-3513
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         Case 1:21-cr-00180-UA Document 142 Filed 09/01/21 Page 2 of 2
